             EXHIBIT 6




Case 1:17-cv-00070-WCG Filed 10/15/21 Page 1 of 22 Document 261-6
Pointing Out: How Walmart Unlawfully
Punishes Workers for Medical Absences




the work and family legal center                                   June 2017
      Case 1:17-cv-00070-WCG Filed 10/15/21 Page 2 of 22 Document 261-6
          Pointing Out: How Walmart Unlawfully
          Punishes Workers for Medical Absences
                                                                                                                                        Table of Contents
                         By Dina Bakst, Elizabeth Gedmark & Cara Suvall*
                                                                                                                                        Executive Summary............................................................................................ 1
                           Published by A Better Balance © June 2017
                                                                                                                                        Introduction........................................................................................................... 3

                                                                                                                                        Our Approach........................................................................................................ 6

                                                                                                                                        Attendance at Walmart..................................................................................... 6

                                                                                                                                              The Point System......................................................................................... 7
                                           the work and family legal center

                                                                                                                                              Excused Absences....................................................................................... 8

                                                                                                                                              The “Ostrich” Approach........................................................................... 9

Who We Are                                                                                                                                    Unrealistic Notice Requirement........................................................... 11
A Better Balance is a national legal advocacy organization dedicated to promoting fairness in the workplace. We help
workers across the economic spectrum care for their families without risking their economic security. Through legislative               Legal Protections................................................................................................. 12
advocacy, litigation and public education, A Better Balance leverages the power of the law to ensure that no workers have
to make the impossible choice between their job and their family. We believe that when all working parents and caregivers
                                                                                                                                              The Family and Medical Leave Act...................................................... 12
have a fair shot in the workplace, our families, our communities and our nation are healthier and stronger.

      www.abetterbalance.org                                                                                                                  The Americans with Disabilities Act.................................................. 21

      @ABetterBalance                                                                                                                         Pregnant Worker Fairness Acts............................................................. 28

      https://www.facebook.com/ABetterBalance/                                                                                                Sick Time Laws.............................................................................................. 30
      https://www.instagram.com/a_better_balance/
                                                                                                                                        Recommendations.............................................................................................. 34

In April and May 2017, A Better Balance and the OUR Walmart project of the Organization United for Respect (OUR)—a na-
tional non-profit organization dedicated to achieving economic stability and empowerment for the millions of people who
work in retail—worked together to survey more than 1,000 current and former employees about their experiences with
sick time at Walmart. Those survey responses helped to inform this report and many examples are highlighted throughout.
We are indebted to OUR Walmart for their collaboration and to the workers for being willing to share their experiences.



* With appreciation for significant contributions by Molly Weston Williamson, Marcella Kocolatos, and Sarah Brafman.


                                                                                           Case 1:17-cv-00070-WCG Filed 10/15/21 Page 3 of 22 Document 261-6
                                                                                                                    from being disciplined or fired because of
                                                                                                                    their disabilities. It also requires employers to
                                                                                                                    engage in a good faith interactive process to
                                                                                                                    determine an appropriate accommodation
                                                                                                                    for workers with disabilities. Unfortunately,
                                                                                                                    as detailed in this report, this is too often
                                                                                                                                                                        We should not be punished with a point
                                                                                                                    not Walmart’s practice. Other federal,
                                                                                                                                                                        against us when we are sick.
                                                                                                                    state and local laws such as pregnancy
                                                                                                                    accommodation protections, and sick time               —Anya,* Idaho
                                                                                                                    laws, could also be at play. Walmart’s policies
                                                                                                                    and practices are not in compliance with
                                                                                                                    many of these laws.                                 I came down with a stomach flu and I
                                                                                                                                                                        had to call in due to vomiting and high
                                                                                                                    Simply put: Giving a worker a disciplinary
                                                                                                                                                                        fever and got a point cause of being sick
                                                                                                                    “point” for being absent due to a disability
                                                                                                                                                                        ...I hate the fact we got to worry about
                                                                                                                    or for taking care of themselves or a loved
                                                                                                                    one with a serious medical condition is not         getting fired cause we caught the flu.
                                                                                                                    only unfair, in many instances, it runs afoul of       —Veronica,* Illinois
                                                                                                                    federal, state and local law.

   Executive Summary                                                                                                We call on Walmart not only to follow the law,
                                                                                                                                                                        I was fired for caring too much for my
                                                                                                                    but to work with its employees who have
   Walmart is proud of its heritage as a                  with Walmart employees as well as survey                  occasional absences related to health and           loved one! I was there, loyal, for twen-
   family-founded company. Ironically, while              results of over 1,000 current and former                  disability. Walmart can do better, and Walmart      ty-two years. Now my wife is gone, and
   the Walton family touts its family values,             Walmart workers who have struggled due to                 must do better. Workers and the advocates           I’m not working!
   Walmart’s absence control program punishes             Walmart’s absence control program, Walmart                standing with them will not stop pushing
                                                                                                                                                                           —Carl,* Kentucky
   workers who need to be there for their own             may regularly be violating the federal Family             until Walmart treats its workers fairly.
   families. Walmart disciplines workers for              and Medical Leave Act (FMLA) by failing
   occasional absences due to caring for sick or          to give adequate notice to its employees                                                                      My newborn son got put in the hospi-
   disabled family members and for needing                about when absences might be protected                                                                        tal for the RSV virus. I was told my job
   to take time off for their own illnesses or            by the FMLA and by giving its employees                                                                       should be more important and come first
   disabilities. Although this system is supposed         disciplinary points for taking time to care
                                                                                                                                                                        . . . yeah, not over my child!
   to be “neutral,” and punish all absences               for themselves, their children, their spouses
   equally, along the lines of a “three strikes and       or their parents even though that time is                                                                        —Laronda,* Tennessee
   you’re out” policy, in reality such a system is        covered by the FMLA.
   brutally unfair. It punishes workers for things
                                                          Similarly, we allege that Walmart’s policies
   they cannot control and disproportionately
                                                          and practices of refusing to consider doctors’
   harms the most vulnerable workers.
                                                          notes and giving disciplinary points for
   Punishing workers for absences related to              disability-related absences is a violation of
   illness or disability is not only unfair, it’s often   the Americans with Disabilities Act (ADA).
   against the law. Based on our conversations            The ADA protects workers with disabilities

1 | Pointing Out 2017                                                      Case 1:17-cv-00070-WCG Filed 10/15/21 Page 4 of 22 Document 261-6                                                        Pointing Out 2017 | 2
   Introduction                                                            be few other jobs available. Despite its
                                                                           tremendous resources, however, Walmart
                                                                                                                                                                                                    People cannot predict when or how they
                                                                                                                                                                                                    get sick. . . Most if not all Walmart em-
   Walmart presents itself with a smile—but                                maintains punitive policies and practices that                                                                           ployees fear losing their jobs because of
                                                                           destabilize employees’ lives and push them                                My child got sick and had to go to the
   workers there are not smiling. Employees (or                                                                                                                                                     this. . .
   “associates”) at Walmart work long, irregular                           out of work when they need a paycheck the                                 doctor’s several times. The doctor’s office
   hours for low pay and few benefits. Working                             most. Because Walmart is so large, it often                               is not open at night. Any time one of the          —Karla,* Tennessee
   at Walmart can be a challenge. But while                                sets the standard for the entire retail industry.                         kids get sick, I’m punished at work. I’m a    Instead of policies and practices that respond
   employees may wish the company were                                     Pushing for change at Walmart can lead to                                 single mom with no one to help. Trying        to the reality of employees’ lives with any
   more supportive, many are still grateful for                            broader reforms for workers everywhere.                                   to work and raise kids. Then work pun-        sensitivity or flexibility, Walmart enforces its
   the job—they and their families rely on the                                                                                                       ishes me for being a good mom. Yay me.        strict attendance control program in a way
                                                                           This report is rooted in the experiences of
   paycheck to keep a roof over their heads                                                                                                                                                        that violates the fundamental dignity and
                                                                           workers around the country.5 It shows how
   and food on their table. That is why it is                                                                                                           —Barbara,* Kentucky
                                                                           Walmart’s “absence control program” 6— in                                                                               human rights of its employees and, in some
   particularly devastating when Walmart—                                                                                                                                                          situations, in a way that violates the law.
                                                                           which workers are given disciplinary “points”
   with its tremendous resources—chooses to                                                                                                                                                        Arleja’s story illustrates these issues precisely.
                                                                           for absences that can lead to termination —
   adopt and promote corporate policies that
                                                                           punishes workers who are absent for medical
   treat hard-working employees like they are
                                                                           reasons, which are often emergencies, in a
   disposable.
                                                                           way that we allege violates a number of laws.
   Walmart is a retailing giant. With 2.3 million                          Many Walmart workers, who are struggling
   employees around the world1 and total                                   to get by on Walmart hours and wages,
                                                                                                                                                                                                     environment. I worked overtime, and still
   revenue of close to $486 billion in the most                            live in fear that they are only one sick child
                                                                                                                                                                                                     showed up the next day eager to get back
   recent fiscal year,2 Walmart is the world’s                             or emergency room trip away from losing
                                                                                                                                                                                                     to work. It was rare for employees to get
   largest company by revenue and the                                      their job. Those who are most at risk are
                                                                                                                                                                                                     overtime and only the best workers received
   world’s largest private employer. Here in                               workers with illnesses, disabilities, pregnancy-
                                                                                                                                                                                                     it—the fact that I was chosen made me
   the United States, Walmart is the country’s                             related conditions, injuries or family health
                                                                                                                                                                                                     feel like I was valued and like I was part of
   largest private employer, with 1.5 million                              emergencies.
                                                                                                                                                                                                     something. I found out in early January that I
   associates in 5,332 stores.3 Many Walmarts
                                                                                                                                                                                                     was pregnant with my fourth child.
   are located in the Southeastern United States,
                                                                                                                                                                                                     I excitedly told my co-workers my good
   where there are 1,875 stores and 540,074
                                                                                                                                                                                                     news. Then, a week or so later, in the middle
   employees.4 Walmart can have particular
                                                                                                                                                                                                     of my shift, I started having really painful
   significance in rural areas, where there may
                                                                                                                                                                                                     cramps and shooting pains in my stomach.
   1 Walmart 2017 Annual Report, p. 10, http://s2.q4cdn.                                                                                                                                            I was doubled over in pain. A co-worker
     com/056532643/files/doc_financials/2017/Annual/WMT_2017_
                                                                                                                                                                                                     checked on me, and I told her what was
                                                                                                                                                     Arleja’s Story
     AR-(1).pdf (last accessed May 16, 2017).                              5 Some Walmart worker stories have been lightly edited for grammar
   2 Walmart 2017 Annual Report, p. 14, http://s2.q4cdn.                    and clarity. For those workers who wished to remain anonymous, a                                                        going on. She told me that I should go to
     com/056532643/files/doc_financials/2017/Annual/WMT_2017_                pseudonym is indicated with an asterisk.
     AR-(1).pdf (last accessed May 16, 2017).
                                                                                                                                                                                                     the Emergency Room, even though that
                                                                           6 Throughout the report, when we refer to Walmart’s absence control      I was so excited to get my job at Walmart.
   3 Walmart 2017 Annual Report, p. 63, http://s2.q4cdn.                    program, we mean the practices and policies that are involved                                                           would mean that I would get a point for
     com/056532643/files/doc_financials/2017/Annual/WMT_2017_                in giving a “point” or otherwise disciplining a worker related to       I started as a Customer Service Manager         leaving work early. I called my doctor, who
     AR-(1).pdf (last accessed May 16, 2017).                                attendance. Our understanding of this program is based on our
   4 This calculation includes Alabama, Arkansas, Florida, Georgia,         conversations with Walmart workers and some written policies and
                                                                                                                                                     at a Walmart Supercenter in Washington,         also said I should go to the hospital. But I
     Kentucky, Louisiana, Mississippi, North Carolina, South Carolina,       information from Walmart, as accessed by Walmart workers. Noth-         D.C., in November 2015. I loved working         couldn’t afford to risk my job at Walmart,
     Tennessee, Virginia, and West Virginia as of February 2017. Walmart     ing in this report is intended to represent the entirety of Walmart’s
     Corporate, Our Locations, http://corporate.walmart.com/our-story/       corporate or Human Resources policies or any statements by              there. It was a fast-paced and challenging      so I forced myself to work through the pain
     our-locations (last accessed May 16, 2017).                             Walmart.

3 | Pointing Out 2017                                                                                Case 1:17-cv-00070-WCG Filed 10/15/21 Page 5 of 22 Document 261-6                                                              Pointing Out 2017 | 4
     for the rest of my shift before going to the
     Emergency Room that night.
                                                    again my managers refused to even look at
                                                    them. Soon after, I was fired for going over
                                                                                                             Our Approach                                                            stories all too often go unnoticed by policy
                                                                                                                                                                                     makers, the media and the public at large.
                                                    the point limit for new hires because of my              In November 2016, A Better Balance filed a                              This report centers their experiences—the
     Between the hospital, a follow-up
                                                    absences related to the medical issues I was             class-based “pattern and practice” charge of                            most powerful call for advancing change at
     emergency ultrasound, and a doctor’s
                                                    having related to my pregnancy. I begged                 discrimination with the Equal Employment                                Walmart and across the country. Finally, this
     order to rest, I was out of work for the
                                                    them to make an excuse for my absences                   Opportunity Commission (EEOC), alleging                                 report discusses the federal and state laws,
     next two days. I followed the proper call-
                                                    because there was nothing I could have                   that Walmart’s strict and punitive absence                              such as the Family and Medical Leave Act
     out procedure and told a manager that I
                                                    done about them and they were due to                     control program unlawfully pushes employees,                            and the Americans with Disabilities Act, that
     would be out. I also wanted to make sure
                                                    my pregnancy, but I was told that under                  including Arleja, out of work. The charge                               protect workers from being pushed out of
     Walmart wouldn’t be short-staffed, so I told
                                                    Walmart’s policies that simply didn’t matter.            alleges that Walmart’s absence control                                  work merely for needing some time off.
     a manager that I had arranged for one of
                                                                                                             program is illegal in some situations because
     my co-workers to substitute for me if that     When I lost my job, I lost so much—it was
                                                                                                             Walmart refuses to consider doctor’s notes to
     would be helpful, but they never followed      hard to get by, and I was so nervous that                                                                                         I think it is ridiculous that work has to
                                                                                                             authorize absences or provide exceptions to
     up with him. I was given points for those      my kids and I would become homeless. I                                                                                            be put first instead of human life. It is a
                                                                                                             its policies for reasons related to medical issues
     two absences. I got a disciplinary coaching    was good at my job at Walmart, and that
                                                                                                             and disabilities. These workers tell us a story                          sad thing Walmart chose to punish their
     for attendance because I missed those two      job meant so much to me. Even now, I
                                                                                                             with a common theme: Walmart punished me                                 associates because of their absences due
     days, and I told my manager that wasn’t        would go back to Walmart in a heartbeat
                                                                                                             and pushed me out of my job when I needed                                to medical and sickness. . . But to me my
     fair because the two days were because         if they apologized or acknowledged that
                                                                                                             it most.                                                                 family comes first when sick cause we
     of a medical emergency related to my           it was wrong that I was fired just for being
     pregnancy. I tried to hand in paperwork        pregnant.                                                In April and May 2017, A Better Balance and                              only have one life to live. Does Walmart
     showing that I had been at the hospital                                                                 OUR Walmart worked together to survey more                               have no heart when it comes to sick-
     and a letter from my doctor explaining the                                                              than 1,000 current and former employees                                  ness?
     pregnancy complications I was having, but                                                               about their experiences with sick time at
                                                                                                                                                                                           —Maria,* Texas
     my manager refused to take them. I asked                                                                Walmart. The responses we received to this
     that she not hold those days against me,                                                                survey reinforced how difficult Walmart’s
     but she said there was nothing she could                                                                absence control program makes life for
     do, that they were unauthorized absences.                                                               workers. Walmart’s policies and practices,                              Attendance at
                                                                                                                                                                                     Walmart
     I even went to the Store Manager to plead                                                               including giving points for medical and
     my case, but he said the same thing—that                                                                disability-related absences and refusing to
     those absences couldn’t be authorized, and                                                              consider doctors’ notes, are widespread and                             Walmart has hundreds of different policies,
     I had to be disciplined for them. Walmart                                                               consistent around the country.                                          many of which are not distributed to
     policy.                                                                                                                                                                         employees but rather are available only on
                                                                                                             Drawing on the real stories of Walmart workers
     Unfortunately, in February, I started having                                                            around the country, this report shines a light                          Walmart’s internal computer system, the Wire.
     terrible pregnancy-related nausea. It was so                                                            on the devastating effects of the absence                               We have heard from Walmart employees that
     bad that a few mornings I could not even                                                                control program. Disproportionately low-wage                            they often do not know which policies apply
     get out of bed. I couldn’t do anything. When                                                            and women of color,7 these workers and their                            to them; while technically these policies are
     that happened, I tried bringing in notes                                                                                                                                        available to Walmart employees, in reality,
                                                                                                             7 According to Walmart’s 2015 Diversity and Inclusion Report,
     from my doctor explaining that I was having                                                               https://cdn.corporate.walmart.com/01/8b/4e0af18a45f3a043fc-
                                                                                                                                                                                     this system often works to keep employees in
     severe nausea related to my pregnancy, but                                                                85196c2cbe/2015-diversity-and-inclusion-report.pdf (last accessed     the dark. Many employees are only permitted
                                                                                                               May 17, 2017) p. 7, women make up 57% of Walmart’s workforce,
                                                                                                               and people of color make up 40% of Walmart’s workforce. Women          agement and salaried positions, so these numbers are much higher
                                                                                                               and people of color are significantly less well-represented in man-    for lower-paid hourly associate positions.

5 | Pointing Out 2017                                               Case 1:17-cv-00070-WCG Filed 10/15/21 Page 6 of 22 Document 261-6                                                                                            Pointing Out 2017 | 6
   to access the Wire while they are on the           Walmart gives workers disciplinary points for               ok, and I came into work the next day                                   The strict occurrence limit is particularly
   clock (sometimes with a manager hovering           any time away from work that they consider                  with wrapped ribs and a concussion.                                     challenging for people with caregiving
   nearby), and they are told that their use of the   “unauthorized.”                                             The front manager then said that they                                   responsibilities—people who need to care
   Wire is logged by Walmart. This report does                                                                    wouldn’t accept the doctor’s note from                                  for sick children, partners or parents—as
   not attempt to comprehensively review all                                                                                                                                              well as people with disabilities and medical
                                                       My daughter was having seizures, I had                     the hospital, and they fired me for miss-
   of Walmart’s policies. In this section, we will                                                                                                                                        conditions that require them to occasionally
                                                       to take time off to monitor her. They                      ing that day.
   provide basic information about Walmart’s                                                                                                                                              miss work without weeks of advance notice.
   policies related to attendance and absence          counted it against me. . . I passed out at                       —Megan,* Oklahoma
   control.                                            work. They sent me to the hospital. The
                                                       next day, they fired me for it. Walmart is
                                                                                                                                                                                          Excused Absences
                                                       a joke. People have lives outside of work,               Those who have worked at Walmart for                                      While Walmart’s attendance policy9 claims
     I’ve called in sick I think three times last
                                                       we get sick, we have children, things                    less than six months are terminated at four                               to classify absences due to a “reasonable
     winter, but each time I’ve been told I’ve                                                                  points, and employees who have worked                                     accommodation” (a term of art from disability
                                                       happen and Walmart literally covers
     just ‘lost points’ (of which I have no idea                                                                there longer are terminated for nine points                               law) and some other reasons as authorized
                                                       NOTHING.
     what that means nor how to tell how                                                                        in a six-month rolling period.8 That means,                               and therefore not subject to discipline,
     many ‘points’ I have). Therefore, I think             —Allison,* Ohio                                      for example, if an employee who has worked                                workers still do receive points from managers.
     I must be getting close to the ‘limit of                                                                   at Walmart for five months is heading to                                  In a survey of over 1,000 Walmart workers,
                                                      One unauthorized absence is one point.
     points’ so I just don’t call out sick any-                                                                 work 45 minutes before her shift when her                                 85.4% agreed with the statement: I think
                                                      According to Walmart, an absence means
     more at all. For all I know, I might have a                                                                daughter starts throwing up and needs to be                               Walmart has a problem of regularly punishing
                                                      working less than half of your scheduled shift.
                                                                                                                home from school, that employee would lose                                people (eg. a point, occurrence, verbal
     week of paid sick leave, however no one          So someone could get a full point even if she
                                                                                                                her job if she stays home with her sick child—                            warning, firing, etc…) who have absences
     will show me how to see how many hours           worked almost five hours out of her ten-hour
                                                                                                                even if she had not missed a single day and                               due to a disability or serious illness. Workers
     I actually have, so I act like I have none       shift before needing to leave to take her child
                                                                                                                never been even 10 minutes late the entire                                reported hearing the same thing from
     left. . . It’s very easy to use them up too      to the hospital. Showing up more than 10
                                                                                                                time she worked there. It also means, for                                 manager after manager: there is no such
                                                      minutes late leads to half of a point.
     quickly, thus I won’t use any more until I                                                                 example, that a ten-year Walmart employee                                 thing as an excused absence.
     have an explanation.                             One no-call/no-show (meaning that the                     whose only attendance issue is being 11
                                                      employee did not call in to report the                    minutes late approximately once every three
         —Jackie*, California
                                                      absences at least an hour in advance) is four             weeks would be terminated for exceeding
                                                      whole points. Someone who calls 45 minutes                the points limit (even if she regularly stays
   The Point System                                   before their shift starts to explain that an              late beyond the end of her shift). Even before
                                                      emergency has just come up and they need                  someone has four or nine points, they can still
   Walmart uses a point system to discipline          to be absent would receive four points under              receive disciplinary “coachings” that remain in
   workers. Walmart calls each point an               this policy.                                              workers’ files. Having any points or coachings
   “occurrence.” If you get too many points, then                                                               on one’s record can prevent a worker from
   you are fired. Workers can receive points for                                                                getting assigned additional hours or a much-
   any number of infractions—from talking back         I got into a car wreck on my way to                      needed raise or promotion.
   to a supervisor or taking too long during a         work and was sent by ambulance to
   break, to working too slowly or being absent        the hospital. I had two fractured ribs                   8 The details of Walmart’s attendance policy may vary slightly by
   from or late to work.                               and a concussion. I reached a manager
                                                                                                                  state. The detail in this paragraph is from the current Washington,
                                                                                                                  D.C., Attendance Policy (2016). It is our understanding from speaking
                                                                                                                  with workers and advocates that this attendance policy information
                                                       from the hospital, who said it would be                    is consistent with typical attendance policies in other states.         9 Based on the Washington, D.C., Attendance Policy.

7 | Pointing Out 2017                                                  Case 1:17-cv-00070-WCG Filed 10/15/21 Page 7 of 22 Document 261-6                                                                                                 Pointing Out 2017 | 8
     My appendix ruptured while at work              of excused or authorized absences, it is no                a note. Thus, the proof that the employee was     Walmart’s “ostrich approach” means that
     and because I already had eight points,         wonder that Walmart workers live in fear of                telling the true reason for their absence often   Walmart puts its head in the sand to avoid
     I could not leave work to go to the ER          losing their jobs when illness strikes them or a           does not go into their file and Walmart can       seeing FMLA and ADA violations, paid sick
     without pointing out and losing my job.         member of their family.                                    claim they did not know about this reason.        day violations and pregnancy discrimination,
                                                                                                                                                                  but those issues are still there in the lives
     I should have been able to leave to go
                                                                                                                                                                  of its employees. Sometimes, Walmart
     to the ER and not worry about losing my                                                                     I was vomiting blood and had to go to            tries to outsource its legal responsibilities
     job. I had even said to management, ‘So                  I think Walmart has a problem of                   the ER. I was there for two days and each        to a company called Sedgwick, which
     if I fall out because of my appendix and                 regularly punishing people who                     day was a point. I then had two days             seemingly handles many, if not most, of
     have to go out in an ambulance…I will                   have absences due to a disability or                off, and I brought my hospital notes in          Walmart employees’ requests for reasonable
     get a point and lose my job?’ The re-                              serious illness                          when I went back. They would not accept          accommodations, leaves of absence and
     sponse from management was, ‘Yes.’                                                                          them.                                            other absence authorizations. For example,
                                                                                                                                                                  Walmart sometimes tells employees with
         —Sam,* Kentucky                                             85.4% AGREE                                     —Leah,* Kentucky                             absences of more than three days to contact
                                                                                                                Instead of considering why employees              Sedgwick for a “leave of absence,” without
                                                                                                                were absent—and, as discussed below,              explaining what Sedgwick exactly does, what
   In addition to company practice, Walmart’s                        14.6% DISAGREE                                                                               Walmart’s policies are and which laws may
                                                                                                                letting workers know whether the reasons
   written policies, particularly those handed out                                                                                                                protect an employee from being punished for
                                                                                                                for their absences might be protected by
   to employees, can be profoundly misleading                                                                                                                     attendance-related issues. Employees around
                                                                                                                law—Walmart too readily closes its eyes to
   and reinforce the idea that no absences                                                                                                                        the country agree that dealing with Sedgwick
                                                                                                                the reasons behind employees’ absences.
   will be excused. We have heard that when                                                                                                                       is rarely helpful—it’s slow, unresponsive and
                                                                                                                Walmart’s practice of refusing to consider
   new employees are trained at Walmart, the                                                                                                                      confusing to deal with.
                                                                                                                doctors’ notes or to listen to the reasons why
   only information they are given on paper is
                                                                                                                employees are absent could be a concerted
   information related to when an employee           The “Ostrich” Approach                                     effort to avoid hearing information that
   gets points and what the point limits are,                                                                                                                      I asked for two weeks off to receive
                                                     Another aspect of Walmart’s approach to                    could trigger legal responsibilities. But that
   and that employees need to access the                                                                                                                           mental health treatment. Sedgwick
                                                     its absence control program is that Walmart                approach doesn’t work.
   in-store online system the WIRE in order to                                                                                                                     finally got back to me within the last
   find out more about authorized absences. In       has a practice that seemingly attempts to
                                                                                                                                                                   48 hours of my requested leave, which I
   another example, when Walmart changed             insulate managers from finding out that
                                                                                                                 I had a stomach bug, nothing I ate or             hadn’t taken because it wasn’t approved.
   some of its attendance policies in early 2016,    workers are absent for reasons that may be
                                                     protected by law. According to Walmart                      drank would stay down. Was out for                Thanks, Sedgwick.
   workers were given a Personal Associate
                                                     workers around the country, managers do                     two days (couldn’t risk more). When I
   Summary Sheet (PASS), which they were                                                                                                                               —John,* California
   required to sign, describing how the absence      not consider doctors’ notes from employees.                 returned to work, management asked if
                                                     When employees try to avoid a point by                      I knew how many absences I had. ‘Yes, I          The responsibility of following the law
   control program worked. The PASS included
                                                     bringing in a note showing that they were                   know.’ She said I could bring in doctor’s        when it comes to employees’ absences rests
   information about how points are accrued
                                                     at the doctor for their child, or were in the                                                                on Walmart and Walmart alone. Walmart
   and the new limit at which workers are fired                                                                  notes if I wished but they wouldn’t ex-
                                                     emergency room for themselves, Walmart’s                                                                     cannot avoid legal obligations by refusing
   for points, but contained no information                                                                      cuse the absence.
                                                     policy and practice is to not consider the                                                                   to consider doctors’ notes and information
   about excused absences. By firmly reminding
                                                     content of the note in deciding whether to                      —Naomi,* Virginia                            about absences, and it cannot push that
   Walmart workers of the company’s strict
                                                     treat the absences as unauthorized. Managers                                                                 responsibility onto someone else.
   attendance policy, without any explanation
                                                     often refuse to even look at or physically take

9 | Pointing Out 2017                                                  Case 1:17-cv-00070-WCG Filed 10/15/21 Page 8 of 22 Document 261-6                                                       Pointing Out 2017 | 10
   Unrealistic Notice                                  Of course, emergency situations would never               allergic reaction and I had to rush her
                                                                                                                                                              Legal Protections
   Requirement                                         be authorized under this unrealistic three-               to the hospital and miss work. Because
                                                       week advance notice requirement. The survey               of this, I lost my job. I loved my job and   Based on what we have heard from workers
   Walmart’s attendance policy makes it almost         results indicated that 78 percent of those                                                             across the country, we allege that Walmart’s
                                                                                                                 I lost it and lost my place because I
   impossible for employees to get absences            who were absent for a medical emergency                                                                absence control program regularly violates
                                                                                                                 couldn’t find work soon enough. I am
   approved in advance even when employees             were also punished for an absence.                                                                     the law by punishing workers even when the
   tell supervisors about them weeks ahead. The                                                                  now homeless. I wish Walmart didn’t
                                                                                                                                                              reason for an absence is a serious medical
   policy requires:                                                                                              have such a horrible attendance policy. I
                                                                                                                                                              issue or disability. Walmart employees have
                                                                                                                 always showed up on time and was one         told us that they feel vulnerable and anxious.
     (1) that an employee notify management
                                                                                                                 of their good employees.                     Workers live in fear of getting sick or needing
         three weeks in advance of an absence;
         and                                                                                                        —Nicole,* Texas
                                                                                                                                                              to care for an ill family member, as they know

     (2) that management approve that
                                                                  22%                                                                                         how easy it is to be disciplined and even
                                                                                                                                                              terminated under Walmart’s policies.
         absence; and                                                                                             My mother has a degenerative disc dis-
                                                                                                                                                              While Walmart makes its workers feel like they
     (3) that management choose to build the                                                                    ease of the spine, she sometimes needs       are completely at management’s mercy, the
         requested absence into the schedule                                                                     to be taken to her doctor’s appoint-
                                                                                78%                              ments. I try to request the day off ahead
                                                                                                                                                              reality is that there are laws that protect them.
                                                                                                                                                              In addition to the aforementioned FMLA
   in order for an absence not to count against
   them.                                                                                                         of time, up to 30 days notice depending      and ADA, Pregnant Worker Fairness Acts and
                                                                                                                 on the doctor she is seeing. My manager      Sick Time Laws protect workers from being
   That means, for example, if an employee                                                                       doesn’t approve days off until two weeks     punished for particular absences.
   has a child who needs to have a follow-up
                                                                                                                 ahead, misses that I put it in almost a
   doctor’s appointment during work hours in
   two weeks (or even 20 days), there is no way
                                                                 PUNISHED		NOT PUNISHED                          month ago, and schedules me for that         The Family and Medical
   that he can get an absence excused for that                                                                   day. . .[then] I call off and get a point.   Leave Act (FMLA)10
   day even with the long lead time and even if               78 percent of workers who were                     I find that utterly ridiculous.
   he were to arrange with a co-worker to take              absent for a medical emergency were
                                                                also punished for an absence                        —Martha,* Florida                         What is the FMLA?
   over the shift. It is often impossible to request
   time off three weeks in advance, especially                                                                                                                The Family and Medical Leave Act (FMLA) was
   for unpredictable personal or family needs,                                                                    I’ve requested off more than three weeks    passed by Congress in 1993 to help working
   but even for foreseen reasons. For example,                                                                   ahead of time for my or my daughter’s        men and women balance the conflicting
                                                        My eight-month-old daughter got pneu-
   someone who almost always is scheduled                                                                        doctor’s appointments. But when I am         demands of work and personal life. The act
                                                        monia in January 2017. I am a single
   to work nights might make a doctor’s                                                                                                                       recognizes that there will be times when
                                                        mom and no one could watch her, so I                     unable to make it to work, I am still pun-
   appointment for during the day, only to find                                                                                                               someone cannot work because of their
                                                        had to take a week off work while she                    ished even though I not only requested
   out that they have been put on the schedule                                                                                                                own,or their family member’s, medical issues,
   for a day shift. Since managers sometimes fail       was recovering. I took in a note from                    off but also brought it to a manager’s       and that people caring for their own or a
   to post schedules three weeks in advance,            the hospital and my manager said they                    attention.
                                                                                                                                                              10 F or all stories shared in this section, employees indicated that they
   it may be too late to request time off under         would take me off the schedule, but they                    —Mary, Ohio                                  have worked at Walmart for over a year and at least 25 hours per
                                                                                                                                                                 week, which would likely be sufficient for eligibility under the FMLA.
   the policy and too late to get a new doctor’s        never did and I got points for being out.                                                                However, A Better Balance has not done a full review of all of the
   appointment that doesn’t interfere with a shift.                                                                                                              facts of each of these stories, and does not make representations
                                                        Then in February, my daughter had an                                                                     about each employee’s eligibility for the FMLA or whether the med-
                                                                                                                                                                 ical condition involved would actually be covered by the FMLA.

11 | Pointing Out 2017                                                 Case 1:17-cv-00070-WCG Filed 10/15/21 Page 9 of 22 Document 261-6                                                                       Pointing Out 2017 | 12
   family member’s serious medical condition                                                                                            would be fired if I got nine points, so I was   knew there was no treatment for her—they
   should not lose their job. 11                                                                                                        constantly walking on eggshells because         were just trying to keep her comfortable.
                                                                                                                                        I was terrified of being terminated and         She was on her deathbed when I requested
                                                                                                                                        losing the paycheck we depended on. My          time off to be with her, but my request was
     I had to call out because I was scheduled                                                                                          manager said they don’t accept doctor’s         denied. Walmart said I would be fired if I
     to work the day of my son’s knee surgery.                                                                                          notes or medical excuses, though my             took the time off. My mother died alone in
     I got a point. After his knee surgery, I                                                                                           manager did informally excuse a few of          early April 2017. Not being with her when
     had to leave him in the hospital while I                                                                                           my absences. But adding insult to injury,       she passed was devastating.
     worked.                                                                                                                            they would hold the few times they did
                                                                                                                                                                                        I know that I am not the only person who
                                                                                                                                        not give me points for absences over my
          —Jamie,* South Carolina                                                                                                                                                       has dealt with this—my wife has had similar
                                                                                                                                        head—when I would request additional
                                                                                                                                                                                        trouble while she has been trying to care
                                                                                                                                        time off to take care of my mom, they
                                                                                                                                                                                        for her mother who has cancer. She works
                                                                                                                                        would not only tell me that they would be
     I had a really bad illness, and my doctor                                                                                                                                          the night shift so she can be around to take
                                                                                                                                        unexcused, but they would threaten to go
     told me to rest in order to fully recover.                           A treasured family photograph of Brittany’s mother                                                            my mother-in-law to chemo and radiation
                                                                                                                                        back into the system and give me points
     I went to personnel to ask if they would                                                                                                                                           treatments during the day. Even though
                                                                                                                                        for the old absences too if I requested
     let me follow my doctor’s direction and                                                                                                                                            she lets them know what schedule she
                                                                                                                                        additional time off. This made my work
     accept a doctor’s note, since he advised                             Brittany’s* Story                                             environment really stressful—I never knew
                                                                                                                                                                                        needs in order to work and also care for her
                                                                                                                                                                                        mother, sometimes they still schedule her
     me to take three days off while I was on                                                                                           how many points I had, and my managers
                                                                          Six years ago, I worked for a Walmart in a                                                                    when they know she cannot work and she
     prescription antibiotics. They told me                                                                                             used my mom’s condition to have power
                                                                          small town in Texas. I worked there for two                                                                   is given points for her absences. It is a very
     no, so I went to work even though I was                                                                                            over me and my situation. Being in limbo
                                                                          years before my wife and I decided to move                                                                    stressful situation for her, and I hate that she
     sick, and I did not fully recover from my                                                                                          like that while being constantly threatened
                                                                          to North Carolina for a job opportunity.                                                                      has to deal with this too.
                                                                                                                                        with termination was even worse than just
     illness. The doctor said that I could have                           Unfortunately, a little over a year ago in
                                                                                                                                        knowing where I stood.                          I am telling my story because I think it is so
     suffered serious ear damage due to lack                              early 2016 my mother became gravely ill
                                                                                                                                                                                        important that Walmart not be allowed to
     of rest and proper care due to Walmart’s                             with cirrhosis of the liver, so we moved our                  I had heard about the FMLA, so I asked
                                                                                                                                                                                        get away with treating their employees so
     policy.                                                              lives back to Texas in order to be near her                   whether my absences could be excused.
                                                                                                                                                                                        poorly. We work incredibly hard for them
                                                                          and to care for her. When I got back home,                    My manager told me that they couldn’t
          —Carly,* Florida                                                                                                                                                              and deserve a little flexibility to care for our
                                                                          my mom was in the Intensive Care Unit                         because I had not yet been working
                                                                                                                                                                                        loved ones. My mother always taught me
                                                                          (ICU), and we learned that she had also had                   there long enough to apply. I just learned
   The FMLA gives eligible employees—those                                                                                                                                              to stand up for what is right. I pray no one
                                                                          a stroke. She clearly was not doing well, and                 recently, in a conversation with A Better
   who have worked for 12 months12 and at                                                                                                                                               is ever put in the predicament that Walmart
                                                                          we found out she likely wouldn’t recover. In                  Balance, that since I had worked at Walmart
                                                                                                                                                                                        put me in.
   11 This section focuses on the federal FMLA, but many states also     March 2016, my wife and I started working                     before just a few years ago, it might be the
      have their own state-specific FMLAs, which often exceed the pro-
      tections of the federal FMLA. For an overview of some state FMLA    at a Walmart close to my mom.                                 case that Walmart was supposed to count
      laws, see http://www.ncsl.org/research/labor-and-employment/
                                                                                                                                        the time I worked at the other Walmart and
      state-family-and-medical-leave-laws.aspx (last accessed May 16,     I hoped that working near my mom would
      2017). Violations of the federal FMLA will nearly always also be                                                                  add it together to equal over 12 months,
      violations of state FMLAs, and situations that do not violate the   let me be there for her. Walmart did not
      federal law may well still violate state laws.                                                                                    which could have made me covered by the
                                                                          let that happen. Even though I was a hard
   12 The 12 months do not need to be twelve months in a row—if                                                                        FMLA. Walmart never told me that.
      an employee worked for a Walmart previously, with less than a       worker and worked full-time hours, I was
      seven-year gap in employment, the previous employment can be
      added to current employment. See 29 U.S.C. § 825.110. The working
                                                                          often given “points” for absences when I                      The worst part came at the end. My mother
      hour requirement for 1,250 hours, however, must have been in        needed to take care of my mom. I knew I                       was receiving hospice care because we
      within the last 12 months.

13 | Pointing Out 2017                                                                       Case 1:17-cv-00070-WCG Filed 10/15/21 Page 10 of 22 Document 261-6                                                        Pointing Out 2017 | 14
     Tracey* &                                        I am now close to pointing out as well. A
                                                      little more than a year after I began working,
                                                                                                                                                                  least 1,250 hours in the last 12 months for an
                                                                                                                                                                  employer with fifty or more employees—the
     Brian’s* Story                                   I had to go back to the ER again because of                                                                 right to take up to 12 weeks of unpaid, job-
                                                      the cramping and fear that I might lose the                                                                 protected leave for childbirth and bonding
     My fiancé Brian and I were excited to begin
                                                      baby. Every day, I go to work scared that I’m                                                               with a new child, dealing with one’s own
     working at a Walmart in Mississippi in
                                                      just one ER visit away from getting fired.                                                                  serious health condition or caring for a
     February 2016. I work as a customer service
                                                                                                                                                                  family member who has a serious health
     supervisor and Brian worked in stocking          It has now been three months since Brian
                                                                                                                                                                  condition.13 It is important to note that the
     and produce.                                     was fired, and despite his best efforts and
                                                                                                                                                                  law does not just cover your own personal
                                                      his great work ethic, Brian hasn’t found a
     In late 2016, Brian and I found out we were
     expecting our first child together. It has
                                                      new job yet. I feel so guilty that Brian lost             Sherry’s Story                                    illness (like your own diabetes), but also a
                                                                                                                                                                  family member’s serious illness (like a mother’s
                                                      his job because he prioritized caring for me
     been a difficult pregnancy, and I had to                                                                   I have worked at Walmart in Mountain              hospitalization). A qualified employee may
                                                      during my pregnancy. Walmart should not
     go to the ER several times due to severe                                                                   Home, Arkansas since 2008. In February            take leave for a set period of time or on an
                                                      force partners to choose between caring
     cramping. Brian drove me to the hospital                                                                   2016, I developed sciatica in both my legs.       “intermittent” (occasional) basis—for example,
                                                      for their loved ones when they need it most
     and helped me stay calm as I waited. He                                                                    On a few occasions, the pain would be so          to attend weekly chemotherapy treatments on
                                                      and keeping their job.
     called out of work to help care for me each                                                                severe that I needed to stay home from            Wednesdays.
     time I was in the ER. Even though both of        Now, I am eight months pregnant and                       work. I was out four times between February
                                                                                                                                                                  Some common serious health conditions
     us had doctor’s notes for every absence, we      I’m concerned we won’t have enough                        and April and received a point each time I
                                                                                                                                                                  that qualify for FMLA leave are:
     both received points every time I went to        money to support our new baby. Though                     was out.
     the ER. Walmart would not even look at the       I had hoped to take a few weeks to                                                                            1) c onditions requiring an overnight stay
     notes or excuse any of the absences.                                                                       In April, I went to speak to my manager
                                                      recover after the baby is born, I am now                                                                         in a hospital or other medical care
                                                                                                                because I noticed she had begun to
                                                      planning to go back to work a week after                                                                         facility, like having a minor heart attack;
     Brian also called out a couple times when                                                                  significantly cut my hours. I was also afraid
                                                      I give birth. Otherwise, I’m scared we’ll be
     I got into a car accident two months into                                                                  that I’d rack up too many points due to my          2) c onditions that incapacitate the
                                                      homeless with a newborn. The way that
     my pregnancy. Again, he stayed home to                                                                     condition and get fired. I informed her that I         employee or an employee’s family
                                                      Walmart treated me and Brian for trying
     care for me and got points for those days                                                                  was able to work but just had to occasionally          member (for example, they are unable
                                                      to be healthy and supportive during my
     as well. Then, Brian experienced terrible                                                                  take a day off due to the pain. She told me            to work or attend school) for more than
                                                      pregnancy has made what should be the
     food poisoning and had to miss work due                                                                    that I should take a leave of absence. I cried         three consecutive days and require
                                                      most exciting time in our lives a time of
     to his own illness. He was fired shortly after                                                             and told her I needed to pay my bills and did          ongoing medical treatment (either
                                                      great uncertainty and fear.
     because he got too many points.                                                                            not want to be pushed out onto leave.                  multiple appointments with a health
                                                                                                                                                                       care provider, or a single appointment
                                                                                                                Only after I spoke to another co-worker at
                                                                                                                                                                       and follow-up care such as prescription
                                                                                                                Walmart did I learn that I could apply for
                                                                                                                                                                       medication);
                                                                                                                FMLA leave and use it on an intermittent
                                                                                                                basis so that I could stay on the job but take      3)chronic conditions that cause
                                                                                                                days off when the sciatica flared up. If it had       occasional periods when the employee
                                                                                                                not been for that chance conversation with            or the employee’s family member is
                                                                                                                my co-worker, I might be out of a job. Even           unable to work and requires treatment
                                                                                                                though I am now on FMLA, I also never got
                                                                                                                those four points back.
                                                                                                                                                                  13 2 9 U.S.C. § 2612(a)(1)(c). The family members covered by the FMLA
                                                                                                                                                                     are a spouse, a child and a parent.

15 | Pointing Out 2017                                               Case 1:17-cv-00070-WCG Filed 10/15/21 Page 11 of 22 Document 261-6                                                                          Pointing Out 2017 | 16
         by a health care provider at least twice                             My daughter has asthma. When she starts                            A worker who needs leave for an FMLA-                                        I have an ill father, who has diabetes and
         a year, like Crohn’s Disease, asthma,                                to have trouble breathing and is wheez-                            qualifying reason does not need to mention                                   cancer, and sometimes I need to take
         diabetes, or rheumatoid arthritis; and                               ing really bad, I need to take off because                         any magic words, like “FMLA,” when he or she                                 him to the doctor. When I need to take
                                                                              she may need to go to the ER to make her                           makes the request,16 and the request does                                    off to care for him, I’m punished and giv-
      4) pregnancy (including prenatal
                                                                                                                                                 not have to be in writing.17 A worker could
         appointments, inability to work due to                               better. I get points when I take off to be                                                                                                      en a point. My manager didn’t mention
                                                                                                                                                 simply describe her need for time off and the
         morning sickness, and bed rest). 14                                  with my daughter during asthma attacks.                                                                                                         FMLA or tell me to contact Sedgwick—I
                                                                                                                                                 medical reason behind it, such as saying, “I
                                                                                                                                                 need to go to the doctor for an issue with my                                was told that doctor appointments are
                                                                                    —Diana,* Louisiana
                                                                                                                                                 pregnancy” or “I need to take my mom to the                                  unexcused absences.
                                                                                                                                                 doctor for her Alzheimer’s.” If the employer                                     —Robert,* Nevada
      My wife is a diabetic and on multiple                                Notice Requirement                                                    has follow-up questions or wants medical
      occasions I’ve had to leave early to rush                                                                                                  documentation, it is on the employer to try to                              So if an employee says to her employer
                                                                           It is the employer’s responsibility, not the
      her to the ER for diabetic ketoacidosis                                                                                                    get that information from the employee.18                                   that her son is really sick, and that’s why she
                                                                           employee’s, to determine whether a request
      [an acute, life-threatening complication                                                                                                                                                                               needs to miss work, it then becomes the
                                                                           for time off from work is likely to be covered
      of diabetes]. It has caused me to get writ-                                                                                                                                                                            employer’s responsibility to find out whether
                                                                           by the FMLA. For the law to kick in, employees
                                                                                                                                                                                                                             the absences should be protected by the
      ten up a full point each time. When I get                            must notify their employers in advance
                                                                                                                                                 16 9 C.F.R. § 825.302(c).                                                   FMLA. The employer could ask follow-up
      sick and call in, I’ve already accumulat-                            when they know that they are planning to                              17 Employees only need to give “verbal notice sufficient to make the       questions to find out whether the son spent
      ed too many points not to worry about                                take leave, though if the leave is required                              employer aware that the employee needs FMLA-qualifying leave,
                                                                                                                                                    and the anticipated timing and duration of the leave.” 29 C.F.R. §       a night in the hospital or if the illness was
      losing my job.                                                       for an emergency or if the need comes up                                 825.302(c).
                                                                                                                                                                                                                             connected to an ongoing chronic condition
                                                                           unexpectedly, then employees only have to let                         18 “In all cases, the employer should inquire further of the employee if
            —Josh,* Alabama                                                                                                                         it is necessary to have more information about whether FMLA leave        or any of the other ways that medical issues
                                                                           the employer know as soon as they are able                               is being sought by the employee, and obtain the necessary details
                                                                                                                                                                                                                             may be covered by the FMLA. Similarly,
                                                                           to (even if that is during or after the leave).15                        of the leave to be taken.” 29 C.F.R. § 825.302(c).

                                                                           For example, if a worker on his way to work
      My son was hospitalized for pneumonia.
                                                                           received a call from his child’s daycare that the
      It was so bad that he stopped breathing                              child had an asthma attack, then the worker
      in the ER and they needed to put him on                              could not be punished for taking the child
      oxygen. I got points even after telling                              to the emergency room and later that day
      management why I was out. They give                                  informing their employer about the problem.
      points no matter what.

            —Ashana,* Tennessee                                               My daughter was born with a congenital
                                                                              brain defect. It causes a lot of issues for
                                                                              babies. When I have been absent to help
                                                                              with an issue my daughter is having, I
                                                                              get a point. Walmart hasn’t let me know
                                                                              about the FMLA.

                                                                                    —Christopher,* Pennsylvania
    14 United States Department of Labor, The Employee’s Guide to the
       Family and Medical Leave Act, p. 4, available at https://www.dol.
       gov/whd/fmla/employeeguide.pdf (last accessed April 17, 2017).      15 S ee 29 C.F.R. § 825.303(a).

17 | Pointing Out 2017                                                                                  Case 1:17-cv-00070-WCG Filed 10/15/21 Page 12 of 22 Document 261-6                                                                                  Pointing Out 2017 | 18
   when an employee tells an employer that                                       My mother was rushed to the emergen-                        As a mother and a person, we get sick           or fewer may also be covered by the FMLA, for
   she has the flu and may be out for a few                                      cy room with heart complications and I                      every once in a while. It’s something we        example if the absence involved an overnight
   days, it is on the employer to figure out                                     needed to be there in case anything hap-                    have no control over! We still get pun-         stay, pregnancy or a chronic condition. While
   whether the flu incapacitated her for more                                    pened! Walmart told me that’s why they                      ished with a point regardless of whether        Walmart may be attempting to insulate
   than three days (even if the employee was                                                                                                                                                 itself from information that could give it
                                                                                 give us nine allowed occurrences.                           we have a doctor’s note, and they expect
   not supposed to work each of those days).                                                                                                                                                 notice of FMLA-covered absences and shift
                                                                                                                                             us to not work around food and custom-
   Where an employee tells an employer that                                          —Nina,* Wisconsin                                                                                       responsibility for FMLA issues onto Sedgwick,
   an absence is due to a medical condition, the                                                                                             ers sick! My son had pneumonia, his life        its third-party leave manager, the responsibility
   employer is considered to be on notice, and it                                                                                            was on the line, and I still couldn’t be        to identify and respond appropriately to FMLA
                                                                                Walmart and the FMLA
   becomes the employer’s responsibility to let                                                                                              excused from work. Just pitiful!                requests lands squarely in Walmart’s lap.
   the employee know about the FMLA and to                                      Based on information provided to us by
                                                                                                                                                —Shala,* West Virginia
   follow up to figure out whether the absence                                  numerous workers, we believe that Walmart
   is covered by the FMLA. 19                                                   regularly gives workers points for FMLA-                   Walmart’s attendance policy mentions that          My husband has cancer and there’s times
                                                                                qualifying absences, and that Walmart                      workers can speak with a Human Resources           he gets badly sick and I need to be there
                                                                                disciplines and even fires some employees                  representative about a leave of absence if he      to help him. For example, one time I had
   Employers Cannot Punish                                                      for absences that are protected under the                  or she will be out for more than three days,       to call in because I was in the hospital
   Employees for Using the FMLA                                                 FMLA. We also believe, based on stories we                 but this alone is not even close to sufficient     with my husband. I contacted manage-
   Employers may not punish an employee                                         have heard from workers as well as Walmart’s               to fulfill Walmart’s responsibilities under the    ment, but nothing happened and I had
   because of the employee’s FMLA-protected                                     practice of not considering doctors’ notes, that           law of giving notice to its employees about
                                                                                                                                                                                              to take a point for my absence.
   absences. The FMLA regulations say that                                      Walmart is regularly in violation of the FMLA              the FMLA. It shifts the responsibility onto the
   “employers cannot use the taking of FMLA                                     by shirking its responsibility to identify eligible        employee to learn about protections and to             —Veronica,* Illinois
   leave as a negative factor in employment                                     leaves and absences. Walmart’s policy and                  identify FMLA-covered conditions rather than
   actions, such as hiring, promotions or                                       practice of refusing to consider doctors’ notes,           keeping that responsibility on the employer
   disciplinary actions; nor can FMLA leave be                                  and telling employees that medical issues                  where it belongs. Absences that are three days
   counted under ‘no fault’ attendance policies.”20                             are no “excuse” for absences, prevent it from
   “No fault” attendance policies are the same as                               identifying and properly classifying absences
   absence control policies. It is illegal to use an                            that are protected under the FMLA.
   employee’s need for and use of FMLA leave
   against the employee in any way.21
                                                                                 I was feeling really bad one Monday morn-
                                                                                 ing before I had to go to work so I decided
                                                                                 to go to the hospital. When the doctors
                                                                                 came in the room and did tests, they found
                                                                                 out that I had a serious bladder infection
   19 See Bachelder v. Am. W. Airlines, Inc., 259 F.3d 1112, 1131 (9th Cir.
      2001). See also Price v. City of Fort Wayne, 117 F.3d 1022, 1026 (7th      and strep throat. The doctor took me out
      Cir. 1997) (“The FMLA does not require that an employee give notice
      of a desire to invoke the FMLA. Rather, it requires that the employee      of work. I took my excuse to my managers
      give notice of need for FMLA leave.”).                                     and the store manager, and they said they
   20 29 C.F.R. § 825.220(c).
   21 See, e.g., Bachelder v. Am. W. Airlines, Inc., 259 F.3d 1112 (9th Cir.    were not going to accept the excuse!
      2001) (holding that employer-defendant violated the FMLA by us-
      ing plaintiff-employee’s FMLA-protected leave as a negative factor
      in its decision to terminate her).
                                                                                     —Danique,* Virginia

19 | Pointing Out 2017                                                                            Case 1:17-cv-00070-WCG Filed 10/15/21 Page 13 of 22 Document 261-6                                                         Pointing Out 2017 | 20
                                    22.5%
                                                                    because the system is in effect impossible
                                                                    to navigate, would still be legal violations.
                                                                                                                                              April’s Story                                       My doctor later yelled at me for not staying
                                                                                                                                                                                                  overnight for observation and testing.
                                                                    Because of its absence control program,                                   I have worked at Walmart in Florida for
                                                                    Walmart makes it harder for employees                                     the past three years. Last year, I had a
                                                                    with serious medical conditions, or who                                   heart attack at work. I was working at self-
                                                                    have family members with serious medical                                  checkout and started feeling very sick,
             77.5%                                                  conditions, to care for themselves or their                               sweaty, and having pain in my arm. I kept
                                                                    family without losing their jobs.                                         telling the managers that I didn’t feel right,
                                                                                                                                              but they just walked by. I asked a coworker
                                                                                                                                              for aspirin, for my chest and arm pain. I sat
                                                                      Sometimes my son gets sick with colds                                   down to see if the pain would calm down.
                                                                      that require breathing treatments be-                                   I felt deep chest pain, I felt sweaty, and was
	NOTIFIED		                             NOT NOTIFIED
  OF FMLA		                                                           cause he has asthma. I get an occurrence                                fading in and out of consciousness. It was
                                                                      every time I have to stay home to get my                                really scary.
Just 22.5% of employees who were absent
and are likely FMLA eligible* were notified                           son breathing treatments. I have tried                                  A manager finally called an ambulance,              Charmaine’s* Story
of the FMLA                                                           contacting Sedgwick before about these                                  but then left me alone to wait for the              I’ve worked at Walmart in Wyoming for the
*Employees indicated they have worked for Walmart for over a year     absences for my son, but I got points                                   ambulance. By the time the ambulance                past six years. Walmart has always known
and for at least 25 hour per week.
                                                                      for those days anyway so it’s proba-                                    got there, I couldn’t concentrate and felt          about my asthma. I have to carry my
                                                                      bly not even worth it to contact them.                                  much worse. The paramedic recommended               nebulizer with me to work every day. When
                                                                      Because of the points I got for staying                                 taking me to the hospital. I said, “I can’t leave   my asthma kicks up sometimes, there is no
                                                                                                                                              without telling a manager.” I was worried           way I can work. In the past when I needed
        My daughter attempted suicide and was                         home when he had breathing problems,
                                                                                                                                              about being fired. A paramedic went over            to be absent because of my asthma,
        in the ICU and the doctors didn’t know if                     I couldn’t be with him when he broke his
                                                                                                                                              to the manager to tell the manager that             management never listened to the reason
        she would make it. The assistant manag-                       arm, because I would have too many and                                  they were taking me to the hospital.                for my absence. They just gave me points
        er told me she would remove my hours                          would get fired, and I need my job.
                                                                                                                                              The paramedic took me to the hospital,              and that was that.
        from the schedule but they never did. I                             —Sarah,* North Carolina                                           and I later found out that I got a point for        This past winter I got sick and was not able
        was pointed and coached for missing                                                                                                   leaving in the ambulance. At the hospital,          to even walk 10 feet without losing my
        work when I spent time with her.                                                                                                      the doctors strongly recommended I stay
                                                                    The Americans with                                                        the night and the next day for medical
                                                                                                                                                                                                  breath and having an asthma attack. I work
             —Abigail,* New York                                    Disabilities Act (ADA)                                                    monitoring and further testing. I told them
                                                                                                                                                                                                  in produce, and the cold and the heavy
                                                                                                                                                                                                  merchandise I pick up was not helping
                                                                                                                                              that I couldn’t do that because I work at           my breathing. Management still told me
     Any FMLA-eligible requests that do not make                    What is the ADA?22                                                        Walmart and would be given another point            to come in. I ended up having an asthma
                                                                                                                                              if I didn’t make it into work.                      attack at work. I was in the back room when
     it to Sedgwick because a manager does not                      The Americans with Disabilities Act (ADA) of
     inform an employee that she should contact                                                                                               I knew it could be dangerous to leave the           I started having trouble breathing. One
                                                                    1990 prevents employers from discriminating
     them, or because Walmart regularly fails                                                                                                 hospital early, but I felt like I didn’t have a     of my coworkers asked me if I was okay. I
                                                                    against employees with disabilities, which
     to inform employees of the significance of                                                                                               choice. I couldn’t afford to lose my job. The       managed to tell him, in between wheezing,
                                                                    can include conditions like epilepsy, major
     contacting Sedgwick (that it is a necessary                                                                                              hospital released me and I went back to             what was happening. He went to get
     step in receiving FMLA-protected time), or                     22 T his section focuses on the federal ADA, but many states also have   work the next day. I am desperate to keep           somebody. Someone else tracked down my
                                                                       their own state-specific disability protections, which may exceed
                                                                       the protections of the federal ADA.                                    this job to feed and clothe my daughter.            manager. I was told to sit down and take a

21 | Pointing Out 2017                                                                        Case 1:17-cv-00070-WCG Filed 10/15/21 Page 14 of 22 Document 261-6                                                              Pointing Out 2017 | 22
  fifteen-minute break. Everyone in the room      my ovaries removed. I was unconscious for                                                                    but my manager told me if I were to call
  watched me do my breathing treatment            almost two days.                                                                                             out of work for a week those days would
  and then walked away.                                                                                                                                        all be counted against me. Because of my
                                                  My first day in the hospital, I was supposed
                                                                                                                                                               medical condition, I had no choice but to
  No one ever asked me if I needed medical        to go to work. My fiancée called Walmart
                                                                                                                                                               call out anyway. While I was still recovering,
  attention. I eventually asked to leave          on my behalf because he knew about
                                                                                                                                                               I received a message that I could be fired if I
  because it hurt to breathe. My assistant        Walmart’s policy of firing workers
                                                                                                                                                               called out again. So I was forced to go back
  manger said, “I can’t approve this. This is     automatically if they no-call/no-show, and
                                                                                                                                                               to work. I ended up receiving around six
  going to be a point.” I left anyway because     he did not want me to lose my job. He
                                                                                                                                                               disciplinary points due to my miscarriage.
  I needed to rest at home while using my         spoke to a store manager and explained
  nebulizer. I did get a point for that.          why I was unable to report to work.                                                                          Later in the year, I got the flu. I was throwing
                                                                                                                                                               up and couldn’t get out of bed. I’m a
  No worker should be forced to put their         According to my doctor, I should have
                                                                                                                                                               responsible person and didn’t want to risk
  job before their health. I’m sharing my story   stayed in the hospital for two weeks
                                                                                                                                                               getting others sick. That’s wrong, and I
  because I want Walmart’s unfair policy of       longer than I did. But I went back to work
                                                                                                                                                               won’t do it. At that point I had worked at
  punishing workers because they have a
  medical condition to change.
                                                  after only three days there because I was
                                                  afraid of losing my job. Even though my                     Katie’s Story                                    Walmart for more than a year. But based on
                                                                                                                                                               what Walmart had previously told me about
                                                  fiancée notified Walmart of my medical                      I started working at Walmart in Pennsylvania     taking medical leave, I understood that
                                                  condition right away, I knew that my                        in September 2015. About a year later, I had     workers could contact Sedgwick only to
                                                  absences would not be excused because                       a miscarriage. The day it happened, I didn’t     be approved for long-term medical leaves
                                                  Walmart does not accept doctor’s notes or                   go in to work because I was emotionally          of absence, and that they needed to tell
                                                  medical documentation of any kind. I was                    and physically a wreck. I had to go to the ER.   Sedgwick how long they would be out in
                                                  right. When I returned to work I was given                  I was told that I wasn’t eligible for medical    order to be approved. At the time, I didn’t
                                                  three and a half disciplinary points for my                 leave since I had not yet been employed at       know for sure how long I needed, and I
                                                  absences, one point for each of the three                   Walmart for a full year and that my absences     didn’t want to be out of work without pay
                                                  days I was in the hospital and one-half of                  would be counted against me. I returned          longer than necessary. No one at Walmart
                                                  a point for the day I returned to work late                 to work as soon as I could, even though I        suggested I might be eligible for FMLA or
                                                  from the hospital. If I have more absences, I               was still in so much pain. My first day back,    how that works. So I stayed home and got
                                                  could be fired.                                             I wanted to leave work early because I was       points.
                                                  Walmart’s disciplinary points system puts                   bleeding, but I would have gotten at least
                                                                                                              half a point if I did, so I stuck it out.        I didn’t ask to have a miscarriage. I didn’t
                                                  workers in a very difficult situation when
  Kayla’s Story                                   something like this happens. I was so afraid                Because of the serious and prolonged
                                                                                                                                                               ask to get the flu. It just happens. You need
                                                                                                                                                               time to recover, and you shouldn’t be forced
  I started working as a deli associate at        that I would be fired because of something                  pain I was in after my miscarriage and           to go in to work and be in pain or get other
  Walmart in Ashtabula, Ohio in November          I had no control over. Workers should not                   the continued heavy bleeding I was               people sick. Punishing workers just because
  2016. I have a condition called polycystic      be punished just because they or a family                   experiencing, I went back to the doctor.         they’re sick or a family member is sick is
  ovarian syndrome, which means I develop         member are sick.                                            The doctor told me that I had to rest for        wrong.
  cysts on my ovaries. About two-and-a-                                                                       an additional week, and gave me a note
  half months ago, one of these cysts burst.                                                                  stating that I needed about a week of
  I had to go to the hospital immediately. I                                                                  additional recovery time. My manager
  almost bled out. I ended up having one of                                                                   wouldn’t accept it. I explained the situation,


23 | Pointing Out 2017                                             Case 1:17-cv-00070-WCG Filed 10/15/21 Page 15 of 22 Document 261-6                                                        Pointing Out 2017 | 24
   depressive disorder, cancer, wheelchair use,      impairments.24 For example, the ADAAA                                       formal way or by using any particular words.                            (EEOC), the federal agency that enforces the
   hypertension or cerebral palsy, just to name a    clarified that impairments related to short-                                Rather, an employee asking in plain English                             ADA, has issued clear guidance to employers
   few, depending on how the condition affects       term conditions such as pregnancy can be                                    for some adjustment or change related to                                about modifying or adjusting attendance
   the employee. It also requires employers          covered disabilities under the ADA.25                                       a medical condition counts as a request for                             policies in order to reasonably accommodate
   to make what are called “reasonable                                                                                           a reasonable accommodation.28 A request                                 employees with disabilities. In a question-
   accommodations” for employees with known                                                                                      alone is not enough to get a reasonable                                 and-answer document, the EEOC makes this
   disabilities, so long as the accommodations         “I had hyperemesis [severe nausea and                                     accommodation, but it is all that is necessary                          position clear, writing:
   can be made without undue hardship to               vomiting] when I was pregnant and I                                       to start an “interactive process” with the
   the employer.23 For example, an employer            was punished for missing work when                                        employer. An employee who lets an employer                                Q: “Does the ADA require employers to
   may need to make a workplace accessible             I had a note from the doctor saying I                                     know that a difficulty at work is related to a                            modify attendance policies as a reasonable
   for someone using a wheelchair or acquire                                                                                     medical condition (or where the connection to                             accommodation, absent undue hardship?
                                                       needed to miss work. And I also went
   equipment for a blind employee. The ADA             into pre-term labor and was in trouble                                    a medical condition is known to an employer)                              A: Yes. If requested, employers may have to
   covers a wide range of physical and mental                                                                                    has also made a request for a reasonable                                  modify attendance policies as a reasonable
                                                       for that. I got pointed multiple times.”
   medical conditions that substantially limit                                                                                   accommodation.29 In the interactive process,                              accommodation, absent undue hardship.”31
   one or more of a person’s major life activities           —Tiana,* Kentucky                                                   the employer works with the employee to
   (like the ability to read, lift, walk, breathe,                                                                               figure out whether the employee is covered
                                                     Congress made clear in the ADAAA that                                                                                                               Similarly, the EEOC has also made clear
   stand, etc.).                                                                                                                 by the ADA and whether the accommodation
                                                     the purpose of the law was “to carry out                                                                                                            that unpaid leave may be a reasonable
                                                                                                                                 requested, or another accommodation that
                                                     the ADA’s objectives of providing ‘a clear                                                                                                          accommodation.32 This is the case even if
                                                                                                                                 would meet the needs of the employee, can
     I get migraines. They never understand. I       and comprehensive national mandate for                                                                                                              an employee has exhausted her previously
                                                                                                                                 be implemented without being an undue
     throw up, can’t see out of both eyes, and       the elimination of discrimination’ and ‘clear,                                                                                                      earned leave time.33 Where the EEOC provides
                                                                                                                                 hardship on the employer. That process
                                                     strong, consistent, enforceable standards                                                                                                           examples of the types of situations that would
     get dizzy but they don’t care. It’s never                                                                                   may involve requesting more information
                                                     addressing discrimination’ by reinstating a                                                                                                         be undue hardships on employers, it is clear
     excused even when they send me home.                                                                                        or documentation, and it may involve
                                                     broad scope of protection to be available                                                                                                           that undue hardship is a very high burden.34
                                                                                                                                 conversations with the employee to explore
           —Casandra,* Texas                         under the ADA.”26
                                                                                                                                 accommodation options.
                                                     The ADA also prevents employers from
     I am a type 1 diabetic. I am forced to          having a job requirement or standard that
                                                     screens out people with disabilities unless the                             Attendance and Reasonable
     work no matter the situation. Even when                                                                                     Accommodations
                                                     standard is both job-related and necessary.27
     my blood sugar is 600+ and my heart
     is pounding out of my chest about to                                                                                        A reasonable accommodation under the
                                                     Accommodation Requests and                                                  ADA may include modifications to workplace
     explode.
                                                                                                                                 policies.30 This includes modifications to
                                                     the Interactive Process                                                                                                                             31 EEOC, The Americans with Disabilities Act: Applying Performance
           —Anne*, Kentucky                                                                                                      attendance and punctuality policies if such                                and Conduct Standards to Employees with Disabilities, https://
                                                     The ADA does not require employees to                                       modification is not an undue hardship. The                                 www.eeoc.gov/facts/performance-conduct.html (last accessed
   In 2008, the Americans with Disabilities Act                                                                                                                                                             May 17, 2017).
                                                     request a reasonable accommodation in a                                     Equal Employment Opportunity Commission                                 32 EEOC, Employer-Provided Leave and the Americans with Disabili-
   Amendments Act (ADAAA) expanded the                                                                                                                                                                      ties Act, https://www.eeoc.gov/eeoc/publications/ada-leave.cfm
   ADA’s definition of disability to include less    24 42 U.S.C. § 12102(4)                                                                                                                                (last accessed May 17, 2017).
                                                     25 S ee 9 C.F.R. §1630.2(j)(1)(ix), see also EEOC, Enforcement Guidance:   28 EEOC, Enforcement Guidance: Reasonable Accommodation and            33 Id.
   severe impairments as well as temporary              Pregnancy Discrimination and Related Issues, “Americans with                Undue Hardship Under the Americans with Disabilities Act, https://   34 See EEOC, The Americans with Disabilities Act: Applying Perfor-
                                                        Disabilities Act,” https://www.eeoc.gov/laws/guidance/pregnan-              www.eeoc.gov/policy/docs/accommodation.html#requesting%20.              mance and Conduct Standards to Employees with Disabilities,
                                                        cy_guidance.cfm#_ftnref140 (last accessed May 17, 2017).                    (last accessed May 24, 2017).                                           https://www.eeoc.gov/facts/performance-conduct.html (last
                                                     26 42 U.S.C. § 12101(b)(1).                                                 29 Id.                                                                     accessed May 17, 2017) for examples illustrating the type of high
   23 42 U.S.C. § 12112(b)(5)(a)                    27 42 U.S.C. § 2112(b)(6).                                                  30 42 U.S.C. § 12111(9)(B).                                                burden that might support a showing of undue hardship.

25 | Pointing Out 2017                                                         Case 1:17-cv-00070-WCG Filed 10/15/21 Page 16 of 22 Document 261-6                                                                                                      Pointing Out 2017 | 26
   Walmart and the ADA                                I was off work for severe, debilitating                without being an undue hardship. Instead,         difficult for Walmart to show that making a
                                                      migraines where I could not move or                    Walmart avoids getting this information from      modification to the absence control program,
   Thousands of Walmart workers around the                                                                   its employees. When it does that, Walmart is      such as by increasing the number of points
                                                      function. Over six months, I had seven ab-
   country have had situations where they                                                                    exercising bad faith and failing to live up to    an employee can get before being disciplined
   have had medical conditions requiring some         sences because of those severe migraines,
                                                                                                             its responsibilities under the ADA, pushing       or terminated (just four for a new employee),
   time away from work. When they approach            and two more for helping my sister in
                                                                                                             people with disabilities who need reasonable      or letting a worker with a disability arrive
   managers and ask that an absence be                the hospital and my mother after a car
                                                                                                             accommodations out of their jobs.                 fifteen minutes late on occasion, would
   considered authorized, that is a request for a     accident. Walmart fired me for having too                                                                be an undue hardship. The way Walmart’s
   reasonable accommodation under the ADA.            many absences. Walmart did let me use                  For Walmart to adjust its policy as a
                                                                                                                                                               absence control program is designed and
   We have heard story after story of managers                                                               reasonable accommodation, it could simply
                                                      my earned PTO, but then they fired me                                                                    implemented makes workers requiring
   following Walmart’s practice of refusing                                                                  not count an absence for disciplinary
                                                      for using it. I was never given an accom-                                                                reasonable accommodations more likely than
   to consider doctors’ notes and refusing to                                                                purposes or could agree to change an
                                                      modation packet, and was told that I                                                                     other workers to be pushed out of their jobs.
   consider information about the reason for an                                                              employee’s schedule in a way that makes it so
                                                      couldn’t contact Sedgwick since the ab-                that she can be out that day without being
   absence.
                                                      sences were sporadic, not one long period              absent from work. Employers cannot claim          Pregnant Worker Fairness
                                                      of time for a leave of absence. They would             something is an undue hardship just because       Acts (PWFAs)
     My blood pressure peaked out at 194/99           never accept doctors’ notes even though I              it causes some expense or inconvenience;
     and I nearly passed out. After close mon-        offered to bring them in.                              rather, undue hardship means “an action
     itoring by pharmacy staff it finally came                                                               requiring significant difficulty or expense,”35   What are Pregnant Worker
     down enough for me to call someone to
                                                         —Lina,* Minnesota                                   taking into account fact-specific analysis        Fairness Acts (PWFAs)?
                                                                                                             including the size of the business, number of
     come pick me up and take me home. I                                                                                                                       Pregnant Worker Fairness Acts (PWFAs)
                                                                                                             employees and the financial resources of the
     was given a half a point for leaving early.      “I have very bad asthma and allergies.                                                                   are an umbrella term for laws, generally
                                                                                                             employer, among other factors.36
     I was told nothing could be done. It was         I have had to miss work, or leave early                                                                  modeled on the ADA, that guarantee at
                                                      to go straight to the Emergency Room                                                                     least some reasonable accommodations to
     policy.
                                                                                                               I have kidney problems due to diabetes.         certain employees who need them due to
                                                      for treatment. Walmart management
         —Hannah,* Arkansas                                                                                                                                    pregnancy, childbirth and related conditions
                                                      counted these against me. They had                       When I had to miss some work because
                                                                                                                                                               so long as the accommodation is not an
   When Walmart refuses to receive information        no compassion and were rude about it.                    of my kidney problems, my manager told
                                                                                                                                                               undue hardship on the employer. In addition,
   from its employees about the reason they           Management would not take my doctors’                    me that I would get points and that they        these laws typically require an employer
   were out and the reason they are requesting                                                                 couldn’t accept doctors’ notes. They nev-
                                                      notes. This is unfair and in my opinion                                                                  to engage in an interactive process with
   a modification of the attendance policy,
                                                      illegal. Walmart will end up being sued                  er told me to contact Sedgwick or gave          pregnant employees who need a reasonable
   Walmart violates the ADA by shutting down
                                                      eventually.”                                             me any kind of accommodation packet.            accommodation. Although the language
   the interactive process before it even begins.
                                                                                                                                                               varies from state to state (as does the title),
   Not only does this refusal violate federal law,       —Kevin,* Virginia                                           —Daniel,* Tennessee
                                                                                                                                                               generally speaking these laws close a
   but it violates the company’s own procedure
                                                     Walmart’s next steps are supposed to be                 People with disabilities are too often pushed     loophole in protections for pregnant workers
   laid out in Walmart’s Accommodation in
                                                     determining whether the employee is                     out of their jobs at Walmart just for needing     with health needs that arise from pregnancy
   Employment Policy, which claims that after
                                                     an employee with a disability, and then                 flexibility beyond the limits of the strict       but may not qualify as a disability under the
   an accommodation request, Walmart will
                                                     determining whether the requested                       absence control program. It would be very         ADA. These laws typically pass with broad
   “begin working with you.”
                                                     accommodation or another accommodation                                                                    bipartisan support.
                                                     would let the employee continue to work                 35 42 U.S.C. § 12111(10)(A)
                                                                                                             36 42 U.S.C. § 12111(10)(B)

27 | Pointing Out 2017                                              Case 1:17-cv-00070-WCG Filed 10/15/21 Page 17 of 22 Document 261-6                                                        Pointing Out 2017 | 28
   PWFAs and Leave or                                                         examples make it clear that modifying                    harmful to pregnant workers who need               Sick Time Laws
   Attendance Modification as a                                               schedules or attendance requirements may                 medical treatment or an accommodation.
                                                                              be a reasonable accommodation under the                  Giving a pregnant worker a point for missing       Sick time laws are becoming increasingly
   Reasonable Accommodation
                                                                              statute.                                                 work due to morning sickness could be a            common across the United States. These
   Under many PWFAs, workers who are                                                                                                   violation of a state or city PFWA. Because of      popular laws are passing in states and
   pregnant, recovering from childbirth or                                    PWFAs may provide job protection for some                                                                   localities across the nation, often with very
                                                                                                                                       Walmart’s practices related to its absence
   breastfeeding have the right to reasonable                                 absences during a woman’s pregnancy or                                                                      high levels of support. Sick time laws give
                                                                                                                                       control program, we allege that pregnant
   accommodations that may include additional                                 following childbirth where other laws fall                                                                  workers the right to earn paid time off
                                                                                                                                       workers are regularly pushed out of work if
   breaks, modification of work hours and                                     short. For example, while only some pregnant                                                                that can be used when they or their family
                                                                                                                                       they need a reasonable accommodation in
   unpaid time off from work. For example,                                    workers are eligible for intermittent FMLA                                                                  members are sick, need preventive care or, in
                                                                                                                                       order to attend medical appointments or
   the Washington, D.C., Protecting Pregnant                                  due to restricted eligibility in the federal                                                                many places, need time to attend to safety
                                                                                                                                       manage temporary conditions related to a
   Workers Fairness Act identifies certain                                    statute, workers who are covered by a state                                                                 needs in the case of domestic violence.
                                                                                                                                       pregnancy. For example, A Better Balance
   reasonable accommodations covered by the                                   or local PWFA may receive a reasonable                                                                      These laws prevent employers from holding
                                                                                                                                       recently spoke with a Walmart worker named
   statute that include policy modifications and                              accommodation of an adjusted attendance                                                                     it against workers when they take time off
                                                                                                                                       Ciana* who worked at a store in Colorado.
   accommodations related to attendance.37 The                                policy that would allow them to take time                                                                   for these purposes. Sick time laws are on the
                                                                                                                                       Ciana worked in the deli department, and
   law states that reasonable accommodations                                  to attend an appointment or manage                                                                          books in seven states (Connecticut, California,
                                                                                                                                       was a model employee. When she was
   include, but are not limited to, modifying                                 pregnancy-related conditions, like nausea or                                                                Massachusetts, Oregon, Vermont, Arizona and
                                                                                                                                       pregnant, she started having some bad
   a work schedule or unpaid time off from                                    back pain, without being penalized.                                                                         Washington State), 29 cities (including three
                                                                                                                                       nausea. Her doctor gave her medication that
   work to recover from childbirth. These                                                                                              usually helped her and made it so she could        of our largest: New York, Chicago and Los
                                                                                                                                                                                          Angeles)39 and two counties.40 To date, more
                                                                              Walmart and PWFAs                                        work, but sometimes being around food
   37 See https://ohr.dc.gov/sites/default/files/dc/sites/ohr/publication/                                                            would make her so nauseous that she would          than 14 million workers have gained paid sick
      attachments/PregnantWorkers_WorkplacePoster_052615_FINAL.
      pdf (last accessed May 17, 2017) for a summary of the law, and
                                                                              Walmart’s practice of refusing to look at                have to leave work. She got points for each        time through these laws.41 Many other states
      http://www.dcregs.dc.gov/Gateway/NoticeHome.aspx?noti-                  doctors’ notes or to consider reasons for                of those days that she left early, and was fired   and localities are considering paid sick time
      ceid=5173512 (last accessed May 17, 2017) for the full text of the
      law.                                                                    an employee’s absence can be particularly                for getting too many points. Colorado’s PWFA       legislation so it is expected that there will be
                                                                                                                                       says that employers must provide reasonable        more and more of these laws in the coming
                                                                                                                                       accommodations to employees with health            months and years.
                                                                                                                                       conditions related to their pregnancies.38
      Who is Covered by a PWFA?                                                                                                                                                           Ensuring that workers have access to paid
                                                                                                                                       Reasonable accommodations that Walmart             and job-protected sick time is not only a
      Twenty states and five cities have some version of a PWFA.                                                                       could have taken would include working with        moral issue—no parent should have to
                                                                                                                                       her to modify her schedule or to raise the         choose between leaving a seriously ill child
      States:                                Illinois                         North Dakota          Localities:                        limit for points at which she would be fired.      alone in the hospital and losing a job—but
      Alaska                                 Louisiana                        Rhode Island          New York City, N.Y.                Even if her nausea would not be considered         also a personal and public health issue.
      California                             Maryland                         Texas                 Washington, D.C.                   a disability (though severe pregnancy-related      Workers who interact with customers and
      Colorado                               Minnesota                        Utah                  Philadelphia, P.A.                 nausea can rise to the level of a disability
      Connecticut                            Nebraska                         Vermont               Central Falls, R.I.                depending on how it affects a pregnant             39 This includes 13 cities in New Jersey (Newark, Passaic, East Orange,
                                                                                                                                                                                             Paterson, Irvington, Trenton, Montclair, Bloomfield, Jersey City, Eliz-
      Delaware                               New Jersey                       Washington            Providence, R.I.                   woman), Walmart was required by Colorado’s            abeth, Plainfield, Morristown, New Brunswick), 7 cities in California
                                                                                                                                                                                             (San Francisco, Oakland, Emeryville, Santa Monica, San Diego, Los
      Hawaii                                 New York                         West Virginia                                            PWFA to reasonably accommodate Ciana                  Angeles, Berkeley), 9 other cities across the country) Chicago, IL;
                                                                                                                                       unless it would be an undue hardship.                 Seattle, WA; New York, NY; Tacoma, WA; Spokane, WA; Philadelphia,
                                                                                                                                                                                             PA; Pittsburgh, PA; Minneapolis, MN; St. Paul, MN).
       Go to our website to see details by state: abetterbalance.org/know-your-rights/                                                                                                    40 Montgomery County, MD and Cook County, IL.
                                                                                                                                                                                          41 See http://familyvaluesatwork.org/media-center/paid-sick-days-
                                                                                                                                       38 Colorado Code, Ann. § 24-34-402.3                  wins (last accessed May 17, 2017).

29 | Pointing Out 2017                                                                        Case 1:17-cv-00070-WCG Filed 10/15/21 Page 18 of 22 Document 261-6                                                                          Pointing Out 2017 | 30
   prepare food, for example, should not be                                 for laws to give workers the right to earn                                  parent everywhere except for Connecticut.                                 regarding compliance. For example,
   forced to come to work when they are                                     one hour of sick time for every 30 hours                                    In most places, workers can also use sick time                            Walmart’s Attendance/Punctuality Policy
   contagious and likely to spread illnesses to                             worked, though some laws have workers                                       for a grandparent, grandchild, sibling, parent-                           for the District of Columbia suggests that
   co-workers and customers alike.                                          earn paid sick time at a different rate. Most                               in-law or domestic partner.45 Many laws                                   using paid sick time protected under the
                                                                            laws limit the total number of hours that are                               recognize the growing diversity of American                               Washington, D.C., law might be considered
                                                                            protected by the law per year, but employers                                families and allow sick time to be used to care                           an unexcused absence if not approved by the
     My son gets sick a lot, and then I get sick                            are certainly permitted to let employees                                    for families of choice.46                                                 employee’s manager or supervisor. Because
     too. I got points for pink eye, the flu, and                           earn and use more than the total covered                                                                                                              employees receive points for unauthorized
                                                                                                                                                        Finally, all sick time laws protect workers
     when I had to stay home with my son                                    by the law and at a faster rate than the law                                                                                                          absences, which can subject them to
                                                                                                                                                        against retaliation for the use of covered sick
     from daycare because he had a fever.                                   provides. Although many of these laws allow                                                                                                           disciplinary measures including termination,
                                                                                                                                                        time under the law. Most importantly, this
     When my son and I had strep throat, I                                  small employers to provide less sick time or                                                                                                          if true, this would run afoul of the law. Even if
                                                                                                                                                        means that workers cannot be fired because
     called my manager to let him know. He                                  to provide some of the time unpaid, for large                                                                                                         Walmart has a sick time law policy “overriding”
                                                                                                                                                        of their use of protected sick time, but it also
                                                                            employers like Walmart, most jurisdictions                                                                                                            the attendance policy, the fact that these
     told me I had to come in—even though I                                                                                                             means they cannot be demoted or have
                                                                            guarantee workers the right to earn and use                                                                                                           requirements are in the attendance policy
     was contagious and could infect my co-                                                                                                             their hours reduced. These protections also
                                                                            up to at least 40 hours (five eight-hour days)                                                                                                        and may contradict the requirements of the
     workers and customers—or be pointed.                                                                                                               generally prohibit the use of sick time under
                                                                            of paid sick time per year.44                                                                                                                         sick time policy could confuse and mislead
                                                                                                                                                        the law from being counted against workers
           —Robin,* West Virginia42                                                                                                                                                                                               workers.
                                                                                                                                                        under a discipline policy, such as by giving
                                                                              For more detailed information                                             a worker a disciplinary point for the use of                              Similarly, Walmart attendance policies from
                                                                              about each of the sick time laws,                                         legally-protected sick time.                                              both D.C. and California purport to require
     I worked in the Deli. I know you should
                                                                              and to compare sick time policies                                                                                                                   employees to call in to report an absence
     not have any type of illnesses and be
                                                                              around the country, see http://www.                                                                                                                 at least one hour prior to the start of their
     working in the Fresh area (Deli, Bakery,
                                                                              abetterbalance.org/resources/paid-
                                                                                                                                                        Walmart and Sick Time Laws                                                shift, which as we understand is the policy
     Produce, and Meat Departments). The                                                                                                                Where these laws apply, they provide yet                                  nationwide. Many sick time laws, including
                                                                              sick-time-legislative-successes/
     sad thing is that we still do — that is,                                                                                                           another reason that Walmart must provide                                  those in both D.C. and California, set specific
     if you want to keep your job. Especially                                                                                                           some additional flexibility in its attendance                             requirements regarding when and how
     in the Deli Department. We Deli associ-                                All sick time laws give workers the right to use                            policy. The states and localities where these                             employees can be required to give notice of
     ates would still work our schedule even                                their time to recover from their own illness, or                            laws are in effect, and where Walmart claims                              an unforeseeable or emergency use of sick
                                                                            to care for an ill or injured relative. Sick time                           that it is fully complying with the law, are a                            time, generally dependent on the particular
     though we are sick with nausea, runny
                                                                            can be used for the worker’s child or spouse                                case study in the fact that Walmart can run                               situation. An across-the-board requirement
     noses, coughing, fevers, having strep
                                                                            under all laws and can be used for a worker’s                               its business smoothly and successfully while                              that employees provide notice one hour
     throat, bronchitis, runny diarrhea, etc.                                                                                                                                                                                     prior to the start of their shifts would likely
                                                                                                                                                        providing some job-protected sick time.
           —Melissa,* Nebraska
                                                                               Tacoma, WA; and Philadelphia, PA. Different rates are used in the                                                                                  be in conflict with the applicable legal
                                                                               laws in Pittsburgh (1 hour of sick time for every 35 hours worked)       However, many of Walmart’s existing
                                                                               and Vermont (1 hour of sick time for every 52 hours worked). In                                                                                    requirements. Again, even if Walmart does
   All sick time laws allow workers to earn paid                               Washington, DC; Seattle, WA; and New Brunswick, NJ, the rate at          attendance policies in locations with sick                                not enforce the attendance policy this
                                                                               which workers earn sick time varies based on the number of people
   sick time based on hours worked, but laws                                   employed by the worker’s employer.
                                                                                                                                                        time laws in effect raise serious concerns                                way, the fact that this requirement is in the
   vary as to the exact rate.43 It is most common                           44 W
                                                                                orkers may be eligible to earn and use more than 40 hours per
                                                                                                                                                                                                                                  attendance policy could unlawfully confuse
                                                                               year in Washington, DC; Montgomery County, MD; Seattle, WA;              45 Many laws only cover a registered domestic partner.
   42 These two stories are not from places with sick time laws, but are      Minneapolis and St. Paul, MN; and 5 cities in California. Vermont        46 This is true of most of the laws passed in California cities. In      and mislead workers.
      included to show the public health dynamic underlying these laws         and Tacoma only give workers the right to earn and use up to 24             addition, laws passed in the past year in Minneapolis, Saint Paul,
      and to illustrate the public health concerns involved in requiring       hours (3 eight-hour days) of sick time per year. Under California’s         Chicago, Cook County and Los Angeles recognize chosen family
      employees to come to work sick.                                          state law, workers have the right to earn up to 48 hours (6 eight-          by allowing leave to be used to care for someone who has the
   43 A rate of one sick time hour per forty worked hours is used in          hour days) of sick time per year, but only have the right to use up to      equivalent of a family relationship or, in Minneapolis, who lives in
      Connecticut; Washington State; Cook County and Chicago, IL;              24 hours of paid sick time per year.                                        the employee’s household.

31 | Pointing Out 2017                                                                                Case 1:17-cv-00070-WCG Filed 10/15/21 Page 19 of 22 Document 261-6                                                                                          Pointing Out 2017 | 32
   Walmart’s complicated system of overlapping
   and sometimes conflicting policies, to which
                                                                                               Recommendations                                    clear review procedure that includes worker
                                                                                                                                                  input. Through this review procedure, Walmart
   workers have at best limited access, makes it                                                                                                  should evaluate whether any of an employee’s
                                                                                               Walmart cannot get away with failing
   difficult to determine what policy is actually                                                                                                 attendance-related points should have
   being followed in any particular location. This                                             to comply with federal, state and                  properly been deemed authorized under the
   creates confusion for workers that can make it                                              local laws. Walmart must change its                law and under the policy before punishing any
   difficult for them to understand and use their                                              policies and practices to ensure that no           worker for absences. Finally, Walmart must fully
   rights, and it raises the possibility that there                                            Walmart worker who is protected by                 train its managers and human resources
   may be other violations of sick time laws in                                                                                                   personnel on how to treat absences
                                                                                               law against being punished for certain
   Walmart’s implementation of which workers                                                                                                      appropriately.
   and advocates are not aware.
                                                                                               absences gets a point or a coaching for
                                                                                               that absence.                                     While this report is focused on legal violations
                                                                                                                                                 related to Walmart’s absence control program,
                                                                                               Walmart must ensure that its policies and
                                                                                                                                                 complying with the law alone is not enough
                                                                                               practices governing attendance, and the fact
                                                                                                                                                 to support Walmart workers. Members of the
                                                                                               that some absences are protected by law, are
                                                                                                                                                 worker-led OUR Walmart have launched a
                                                                                               clear and transparent. Workers must be able to
                                                                                                                                                 campaign calling on Walmart to fix their broken
                                                                                               understand the absence control program
                                                                                                                                                 sick day policy and address other issues
                                                                                               and where they stand. Managers and hourly
                                                                                                                                                 that make it difficult for those who work at
                                                                                               employees alike must have the information
                                                                                                                                                 America’s largest corporate employer to make
                                                                                               they need to identify when absences should
                                                                                                                                                 ends meet. In a letter sent to Walmart’s CEO
                                                                                               not be counted against workers under the
                                                                                                                                                 signed by OUR Walmart members and dozens
                                                                                               policy and under the law.
                                                                                                                                                 of organizations, including A Better Balance,
                                                                                                                                                 OUR Walmart members wrote: “Economic
                                                                                               Walmart’s policy must go beyond merely
                                                                                                                                                 stability is not just about wages - it’s about
                                                                                               saying that absences protected by law may be
                                                                                                                                                 whether we can take care of our families, plan
                                                                                               authorized. Workers may not know what
                                                                                                                                                 our lives and have lives outside of our jobs.
                                                                                               that means, and it is Walmart’s obligation
                                                                                                                                                 With unpredictable schedules, increasing
                                                                                               to make sure these laws are followed. The
                                                                                                                                                 use of part-time and temporary staff and
                                                                                               policy should state that absences related to
                                                                                                                                                 inadequate leave policies, corporations in the
                                                                                               a disability or serious medical condition may
                                                                                                                                                 United States have created a crisis of economic
                                                                                               be authorized, with appropriate language for
                                                                                                                                                 stability for all, but particularly women, who
                                                                                               additional state and local legal protections,
                                                                                                                                                 represent the majority of all low-wage
                                                                                               and should lay out a clear and accessible
                                                                                                                                                 employees and the majority of Walmart’s
                                                                                               procedure for workers to request that absences
                                                                                                                                                 workforce.” Walmart should change its policy
                                                                                               be authorized. The policy should explicitly state
                                                                                                                                                 so that no worker is fired merely for getting sick
                                                                                               that medical providers’ notes will be considered
                                                                                                                                                 or caring for an ill family member, even if the
                                                                                               in determining whether an absence will be
                                                                                                                                                 absence is not technically protected by law.
                                                                                               authorized. Before employees are disciplined or
                                                                                                                                                 Walmart needs to publicly commit to changing
                                                                                               terminated, the policy should also provide a


33 | Pointing Out 2017                                Case 1:17-cv-00070-WCG Filed 10/15/21 Page 20 of 22 Document 261-6                                                          Pointing Out 2017 | 34
   their sick time policy to ensure that associates   and benefits of its Short Term Disability plan,
   can earn and use paid sick time without            to give the employees who need it most
   incurring penalties.                               financial support during periods of disability
                                                      and family leave. All workers at Walmart
   Walmart should also improve its scheduling         should feel that they are able to work in a
   process so that employees can get more             safe environment where disability-related
   predictable and stable schedules. Workers          reasonable accommodations, including those
   should be able to work while still having          for pregnancy, are made and respected.
   scheduling requests accommodated and               Implementing these changes would help
   without having to have “open availability.”        support employees and their families. Walmart
   We urge Walmart to expand eligibility for          must listen to the stories of its workers.




35 | Pointing Out 2017                                                  Case 1:17-cv-00070-WCG Filed 10/15/21 Page 21 of 22 Document 261-6
                                   A Better Balance is a legal advocacy organization dedicated to
                                   promoting fairness in the workplace and helping workers care
                                   for their families without risking their economic security.
the work and family legal center




  40 Worth Street 10th Floor New York, NY 10013 | t: 212.430.5982 | info@abetterbalance.org

                            abetterbalance.org
     Case 1:17-cv-00070-WCG Filed 10/15/21 Page 22 of 22 Document 261-6
